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 5                        UNITED STATES DISTRICT

 6                              DISTRICT OF NEVADA
 7                                        *   *   *

 8 UNITED STATES OF AMERICA,
                                                  No.3:12-CR-038-LRH-VPC
 9               Plaintiff,
                                                  ORDER STAYING RELEASE OF
10                                                DEFENDANT LEONELA URBINA
            V.                                    PENDING TRIAL FOR DECISION ON
11                                                GOVERNMENT’S MOTION TO REVOKE
     LEONELA URBINA,
12
                 Defendant.
13

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15               BASED upon the government’s motion to revoke and to stay

16     dated September 20,    2012,   filed in the above-captioned matter

17     pursuant to 18 U.S.C.    § 3145,   IT IS ORDERED that this Court’s

18     Order to Release the defendant,        LEONELA URBINA,       pending trial IS

19     HEREBY STAYED until further ORDER of the COURT.

20               IT IS SO ORDERED.

21
       Dated Sept ember         2012.
                                                                          (oOA
22
                                                      HON. WILLIAM G. COBB
23                                                    UNITED STATES MAGISTRATE JUDGE

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